            Case 5:21-cv-01587-EGS Document 13 Filed 09/28/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN SHACKLES,                                   :
                                                  :
                              Plaintiff,          :           CIVIL ACTION NO. 21-1587
                                                  :
       v.                                         :
                                                  :
EMPIRE BEAUTY SCHOOL, INC.,                       :
                    Defendant.                    :

                                             ORDER

       AND NOW, this 28th day of September, 2021, it having been reported that the parties have

settled the above-captioned action, and pursuant to Rule 41.1(b) of the Local Rules of Civil

Procedure of this Court, it is hereby ORDERED that this action is DISMISSED WITH

PREJUDICE, pursuant to agreement of counsel without costs.

       The Court shall retain jurisdiction for a period of ninety (90) days while the parties finalize

the written settlement agreement.

                                              BY THE COURT:




                                              By: /s/ Shana Restucci
                                                Shana Restucci, Civil Deputy Clerk
                                                The Honorable Edward G. Smith
                                                Shana_Restucci@paed.uscourts.gov
